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                                            March 5, 2019
  Honorable Judge Robert D. Drain
  United States Bankruptcy Court
  Southern District of New York


         Re:          Horace Wilson
         Case Number: 18-22499-rdd
         Subject:     Status Report of Loss Mitigation between Debtors and Creditor


  Dear Judge Drain:

         Our office is retained as counsel for U.S. Bank Trust National Association as Trustee of
  Chalet Series III Trust, by its Servicer, SN Servicing Corporation in the pending loss mitigation
  proceedings. Please accept this letter as an update in advance of the upcoming status hearing.

         On 1/17/19, Servicer received the following documents from Debtor’s Attorney:

             -   Affidavit of Financial Hardship;
             -   2016/2017 Tax Returns;
             -   Proof of Income;

         Upon review, Servicer requested additional documents on 1/24/19:

             -   info on family member(s) contributing $1,500/month. Servicer requires letters of
                 contribution and proof of income for these individuals (paystubs or otherwise).

         On 2/6/19, we reached out for an update on requested documents. On 2/7/19, Debtor’s
  Attorney responded with a contribution letter for Carolyn Wilson and advised that Debtor would
  provide all remaining income documentation within 1 week. We sent follow-up emails for these
  documents on 2/13/19 & 2/22/19. On 2/25/19, Debtor’s Attorney advised that they were
  following-up with Debtor for outstanding documents.

           As of 3/5/19, the additional documents needed (contributor letters and proof of income)
  are still outstanding. Additional documents may be needed at this time as the original
  submission may expire once Debtor submits the previously requested items.
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       Debtor received Servicer’s loss mitigation package on December 13, 2018. Creditor is
requesting the Court set a strict deadline to submit a complete package.

       Please do not hesitate to contact our office with any questions.

Sincerely,




STERN & EISENBERG, P.C.
